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                      IN THE UNITED STATES DISTRICT COURT
                          DISTRICT OF SOUTH CAROLINA
                              CHARLESTON DIVISION

 MURRAY C. TURKA, on Behalf of                  )   Civil Action No. 2:19-cv-1102-RMG
 Himself and All Others Similarly Situated,     )
                                                )
                                  Plaintiffs,   )
                                                )
               v.                               )
                                                )
 SOUTH CAROLINA PUBLIC SERVICE                  )
 AUTHORITY and LONNIE N. CARTER,                )
                                                )
                                Defendants.     )
                                                )
                                                )

              JUDGMENT APPROVING CLASS ACTION SETTLEMENT


       Before the Court is Lead Plaintiff’s motion for final approval of class action settlement.

(Dkt. No. 74.) The motion is granted and the Court makes the following findings:

       WHEREAS, the above-captioned securities class action is pending in this Court and is

entitled Turka v. South Carolina Public Service Authority and Lonnie N. Carter, Case No. 2:19-

cv-1102-RMG (the “Action”);

       WHEREAS, (a) Lead Plaintiff Murray C. Turka (“Lead Plaintiff”), on behalf of himself

and the Settlement Class (defined below); and (b) Defendants South Carolina Public Service

Authority (“Santee Cooper”) and Lonnie N. Carter (“Carter” and collectively with Santee Cooper,

“Defendants”) (Lead Plaintiff and Defendants, collectively, the “Parties”), have determined to

settle all claims asserted against Defendants in this Action with prejudice on the terms and

conditions set forth in the Settlement Agreement and Release dated January 25, 2021 (the

“Settlement Agreement” or “Agreement”) subject to approval of this Court (the “Settlement”);

       WHEREAS, unless otherwise defined in this Order, the capitalized terms herein shall have


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the same meaning as they have in the Settlement Agreement;

       WHEREAS, by Order dated February 11, 2021 (the “Preliminary Approval Order”), this

Court: (a) found, pursuant to Rule 23(e)(1)(B) of the Federal Rules of Civil Procedure, that it (i)

would likely be able to approve the Settlement as fair, reasonable, and adequate under Rule

23(e)(2) and (ii) would likely be able to certify the Settlement Class for purposes of the Settlement;

(b) ordered that notice of the proposed Settlement be provided to potential Settlement Class

Members; (c) provided Class Members with the opportunity either to exclude themselves from the

Settlement Class or to object to the proposed Settlement; and (d) scheduled a hearing regarding

final approval of the Settlement;

       WHEREAS, due and adequate notice has been given to the Settlement Class as ordered by

the Court;

       WHEREAS, the Court conducted a hearing on May 12, 2021 (the “Final Approval

Hearing”) to consider, among other things, (a) whether the terms and conditions of the Settlement

are fair, reasonable, and adequate to the Settlement Class, and should therefore be approved; and

(b) whether a judgment should be entered dismissing the Action with prejudice as against the

Defendants;

       WHEREAS, the Court having reviewed and considered the Settlement Agreement, all

papers filed and proceedings held herein in connection with the Settlement, all oral and written

comments received regarding the Settlement, and the record in the Action, and good cause

appearing therefore;

IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:

       1.      Jurisdiction – The Court has jurisdiction over the subject matter of the Action, and

all matters relating to the Settlement, as well as personal jurisdiction over all of the Parties and



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each of the Settlement Class Members.

       2.      Incorporation of Settlement Documents – This Order incorporates and makes a

part hereof: (a) the Settlement Agreement filed with the Court on January 25, 2021; and (b) the

Long Notice and the Postcard Notice, both of which were filed with the Court on January 25, 2021.

       3.      Class Certification for Settlement Purposes – The Court hereby certifies for the

purposes of the Settlement only, the Action as a class action pursuant to Rules 23(a) and (b)(3) of

the Federal Rules of Civil Procedure on behalf of the Settlement Class consisting of all Persons

who purchased or otherwise acquired and owned Santee Cooper Mini-Bonds from May 1, 2014

through July 31, 2017, inclusive, and who were damaged thereby, and including those Persons’

successors in interest, transferees in interest, assigns, or beneficiaries, if any. Excluded from the

Class are Defendants; members of the immediate family of any Defendant who is an individual;

the officers and directors of Santee Cooper during the Class Period; any firm, trust, corporation,

or other entity in which any Defendant has or had a controlling interest; and the legal

representatives, affiliates, heirs, successors-in-interest, or assigns of any such excluded person or

entity. Also excluded from the Settlement Class are any persons and entities who or which exclude

themselves by timely submitting a request for exclusion that is accepted by the Court.

       4.      Class Findings – The Court finds that each element required for certification of the

Settlement Class pursuant to Rule 23 of the Federal Rules of Civil Procedure has been met: (a) the

members of the Settlement Class are so numerous that their joinder in the Action would be

impracticable; (b) there are questions of law and fact common to the Settlement Class which

predominate over any individual questions; (c) the claims of Lead Plaintiff in the Action are typical

of the claims of the Settlement Class; (d) Lead Plaintiff and Class Counsel have and will fairly and

adequately represent and protect the interests of the Settlement Class; and (e) a class action is



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superior to other available methods for the fair and efficient adjudication of the Action.

       5.      Adequacy of Representation – Pursuant to Rule 23 of the Federal Rules of Civil

Procedure, and for the purposes of the Settlement only, the Court hereby certifies Lead Plaintiff

Murray C. Turka as class representative for the Settlement Class and appoints Lead Counsel The

Weiser Law Firm, P.C. and Liaison Counsel, Hopkins Law Firm, LLC, as Class Counsel for the

Settlement Class. Lead Plaintiff and Class Counsel have fairly and adequately represented the

Settlement Class both in terms of litigating the Action and for purposes of entering into and

implementing the Settlement and have satisfied the requirements of Federal Rules of Civil

Procedure 23(a)(4) and 23(g), respectively.

       6.      Notice – The Court finds that the dissemination of the Long Notice and the

publication of the Postcard Notice: (a) were implemented in accordance with the Preliminary

Approval Order; (b) constituted the best notice practicable under the circumstances; (c) constituted

notice that was reasonably calculated, under the circumstances, to apprise Class Members of (i)

the pendency of the Action; (ii) the effect of the proposed Settlement (including the Releases to be

provided thereunder); (iii) Class Counsel’s motion for an Attorney Fee/Litigation Cost Award; (iv)

their right to object to any aspect of the Settlement, the Distribution Plan, and/or Class Counsel’s

motion for an Attorney Fee/Litigation Cost Award; (v) their right to exclude themselves from the

Settlement Class; and (vi) their right to appear at the Final Approval Hearing; (d) constituted due,

adequate, and sufficient notice to all persons and entities entitled to receive notice of the proposed

Settlement; and (e) satisfied the requirements of Rule 23 of the Federal Rules of Civil Procedure,

the United States Constitution (including the Due Process Clause), the Private Securities Litigation

Reform Act of 1995, 15 U.S.C. § 78u-4, as amended, and all other applicable law and rules.

       7.      Defendants have complied with the Class Action Fairness Act of 2005 (“CAFA”),



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28 U.S.C. §1715, et seq. Defendants, through the Settlement Administrator, timely mailed notice

of the Settlement pursuant to 28 U.S.C. §1715(b). The CAFA notice contains the documents and

information required by 28 U.S.C. §1715(b)(1)-(8). The Court finds that Defendants have

complied in all respects with the requirements of 28 U.S.C. §1715.

       8.      Final Settlement Approval and Dismissal of Claims – Pursuant to, and in

accordance with, Rule 23(e)(2) of the Federal Rules of Civil Procedure, this Court hereby fully

and finally approves the Settlement set forth in the Settlement Agreement in all respects (including,

without limitation: the amount of the Settlement; the Releases provided for therein; and the

dismissal with prejudice of the claims asserted against Defendants in the Action), and finds that

the Settlement is, in all respects, fair, reasonable, and adequate to the Settlement Class.

Specifically, the Court finds that: (a) Lead Plaintiff and Class Counsel have adequately represented

the Settlement Class; (b) the Settlement was negotiated by the Parties at arm’s length; (c) the relief

provided for the Settlement Class under the Settlement is adequate taking into account the costs,

risks, damages, and delay of trial and appeal; and the proposed means of distributing the Settlement

Benefit to the Settlement Class; and (d) the Settlement treats members of the Settlement Class

equitably relative to each other. The Parties are directed to implement, perform, and consummate

the Settlement in accordance with the terms and provisions contained in the Settlement Agreement.

       9.      The Action and all of the claims asserted against Defendants in the Action by Lead

Plaintiff and the other Class Members are hereby dismissed with prejudice. The Parties shall bear

their own costs and expenses, except as otherwise expressly provided in the Settlement Agreement.

       10.     Binding Effect – The terms of the Settlement Agreement and of this Order shall be

forever binding on Defendants, Lead Plaintiff, and all other Class Members, as well as their

respective successors and assigns. [The persons and entities listed on Exhibit 1 hereto are excluded



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from the Settlement Class pursuant to request and are not bound by the terms of the Stipulation or

this Order.]

       11.      Releases and Injunctions – The Releases set forth in Section IV of the Settlement

Agreement, together with the definitions contained in Section I of the Settlement Agreement

relating thereto, are expressly incorporated herein in all respects. The Releases are effective as of

the Effective Date. Accordingly, this Court orders that:

             a. Upon the Effective Date, the Releasors do hereby unconditionally, completely, and

                irrevocably release and dismiss each and all Releasees with prejudice and on the

                merits. The Releasors (regardless of whether any such Releasor ever obtains any

                recovery by any means, including, without limitation, by receiving any distribution

                from the Settlement Benefit) shall be deemed to have, and by operation of the Final

                Approval Order shall have, fully, finally, and forever released, relinquished, and

                discharged all Released Claims against the Releasees.

             b. Upon the Effective Date, Releasees shall be deemed to have, and by operation of

                law and of the judgment shall have, fully, finally, and forever compromised, settled,

                released, resolved, relinquished, waived, and discharged Releasors of any and all

                claims and causes of action of every nature and description, whether known claims

                or unknown claims, whether arising under federal, state, common, or foreign law,

                which arise out of the Santee Cooper Mini-Bonds. The Releasees shall forever be

                barred and enjoined from prosecuting any or all of the claims and only those claims

                as described against Releasors. Releasees do not release any claims relating to the

                enforcement of the Settlement or any claims against any Person who submits a

                Request for Exclusion that is accepted by the Court.



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       12.       Notwithstanding paragraphs 11(a) – (b) above, nothing in this Order shall bar any

action by any of the Parties to enforce or effectuate the terms of the Settlement Agreement or this

Final Approval Order.

       13.       Bar Order. The Final Approval Order shall contain a bar order (“Bar Order”) that

shall, upon the Effective Date, consistent with the Private Securities Litigation Reform Act of

1995, 15 U.S.C. § 78u-4(f)(7) (the “PLSRA”), permanently bar, extinguish, and discharge to the

fullest extent permitted by law any and all claims for contribution or indemnification arising out

of any Released Claims. The Bar Order shall bar all claims for contribution or indemnification (a)

by any Person against any Releasee and (b) by any Releasee against any Person other than a

Releasee.

       14.       Judgment Reduction – Pursuant to 15 U.S.C. § 78u-4(f)(7)(B), any verdict or

judgment that Lead Plaintiff or any other Settlement Class Member may obtain on behalf of the

Settlement Class or t Class Member against any Person subject to the Bar Order shall be reduced

by the greater of (a) an amount that corresponds to the percentage responsibility of the Releasees

for common damages; or (ii) the portion of the Settlement Amount paid by or on behalf of the

Defendants to the Settlement Class or Settlement Class member for common damages.

       15.       Rule 11 Findings – The Court finds and concludes that the Parties and their

respective counsel have complied in all respects with the requirements of Rule 11 of the Federal

Rules of Civil Procedure in connection with the institution, prosecution, defense, and settlement

of the Action.

       16.       No Admissions – Neither this Order, the Settlement Agreement (whether or not

consummated), including the exhibits thereto and the Distribution Plan contained therein (or any

other form of plan of distribution that may be approved by the Court), the negotiations leading to



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the execution of the Settlement Agreement, nor any proceedings taken pursuant to or in connection

the Settlement Agreement, and/or approval of the Settlement (including any arguments proffered

in connection therewith):

           a. Shall be offered against any of the Releasees as evidence of, or construed as, or

              deemed to be evidence of any presumption, concession, or admission by any of the

              Releasees with respect to the truth of any fact alleged by Lead Plaintiff or the

              validity of any claim that was or could have been asserted or the deficiency of any

              defense that has been or could have been asserted in this Action or in any other

              litigation, or of any liability, negligence, fault, or other wrongdoing of any kind of

              any of the Releasees or in any way referred to for any other reason as against any

              of the Releasees, in any arbitration proceeding or other civil, criminal, or

              administrative action or proceeding, other than such proceedings as may be

              necessary to effectuate the provisions of the Settlement Agreement;

           b. Shall be offered against any of the Releasors, as evidence of, or construed as, or

              deemed to be evidence of any presumption, concession, or admission by any of the

              Releasors that any of their claims are without merit, that any of the Releasees had

              meritorious defenses, or that damages recoverable under the Complaint would not

              have exceeded the Settlement Benefit or with respect to any liability, negligence,

              fault, or wrongdoing of any kind, or in any way referred to for any other reason

              related to the Mini-Bonds as against any of the Releasors, in any arbitration

              proceeding or other civil, criminal, or administrative action or proceeding, other

              than such proceedings as may be necessary to effectuate the provisions of the

              Settlement Agreement; or



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             c. Shall be construed against any of the Releasees as an admission, concession, or

                presumption that the consideration to be given under the Settlement represents the

                amount which could be or would have been recovered after trial. However, the

                Parties and the Releasees and their respective counsel may refer to this Order and

                the Settlement Agreement to effectuate the protections from liability granted

                hereunder and thereunder or otherwise to enforce the terms of the Settlement.

       17.      Retention of Jurisdiction – Without affecting the finality of this Order in any way,

this Court retains continuing and exclusive jurisdiction over: (a) the Parties for purposes of the

administration, interpretation, implementation, and enforcement of the Settlement, including the

interpretation and enforcement of all injunctions set forth herein; (b) the disposition of the

Settlement Benefit; (c) any motion for or related to an Attorney Fee/Litigation Cost Award by

Class Counsel in the Action that will be paid from the Settlement Benefit; (d) any motion to

approve the Distribution Plan; (e) any motion to approve the Class Distribution Order; and (f) the

Class Members for all matters relating to the Action.

       18.      Separate orders shall be entered regarding approval of a plan of distribution and the

motion of Class Counsel for an Attorney Fee/Litigation Cost Award. Such orders shall in no way

affect or delay the finality of this Order and shall not affect or delay the Effective Date of the

Settlement.

       19.      Modification of the Settlement Agreement– Without further approval from the

Court, Lead Plaintiff and Defendants are hereby authorized to agree to and adopt such amendments

or modifications of the Settlement Agreement or any exhibits attached thereto to effectuate the

Settlement that: (a) are not materially inconsistent with this Order; and (b) do not materially limit

the rights of Class Members in connection with the Settlement. Without further order of the Court,



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Lead Plaintiff and Defendants may agree to reasonable extensions of time to carry out any

provisions of the Settlement.

       20.     Termination of Settlement – If the Settlement is terminated as provided in the

Settlement Agreement or the Effective Date otherwise fails to occur, this Order shall be vacated

and rendered null and void, and shall be of no further force and effect, except as otherwise provided

by the Settlement Agreement, and this Order shall be without prejudice to the rights of Lead

Plaintiff, the other Class Members, and Defendants, and Lead Plaintiff and Defendants shall revert

to their respective positions in the Action as of immediately prior to the execution of the Settlement

Agreement on January 25, 2021, as provided in the Stipulation.

       21.     Entry of Final Approval Order – There is no just reason to delay the entry of this

Order as a final judgment in this Action. Accordingly, the Clerk of the Court is expressly directed

to immediately enter this final judgment in this Action.

       AND IT IS SO ORDERED.


                                               s/ Richard Mark Gergel
                                               Richard Mark Gergel
                                               United States District Judge


May 12, 2021
Charleston, South Carolina




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